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CIVIL COURT OF THE CITY OF NEW YORK

COUNTY OF BRONX
| | || X
SYNCHRONY BANK, Hilt \ Index No. CV-005361-23/BX.
Ri dst | Plaintiff, |
| ~against- | | || || “DECISION & ORDER”
| ERIKAN. WILSON, ea de Reet )
ih | Defendant. = «Hon. Lauren L.. Esposito
| EEE ATA Cn Hh | Judge ofthe Civil Court
{| . ti \ i| i | i \\ | \ 7
| | IN ' jt | ult) | '
As required by CPLR 2 219(a), the Palo papers rh uae in ev iew wing the underlying motion:
PAPERS tii Wh NUMBERED
Defendant's Notice of Motion, Affi avi Sai Exhibits AON ae Ny
Plaintiff's Affidavit in Opposition | i il i MT Ai Hi Wate >
Defendant's Reply Affidavit, | Hi i

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il ny oo Ria ni .

The plaintiff Synchrony bak ‘ he si commenced this consumer credit action by
summons and complaint on or al a 0 i 2023. ‘The defendant Erika N. Wilson (the
defendant) filed an answer, on or a § cer 8, 2023, asserting general denials and several
affirmative defenses, including that the cout ur ‘te cks personal jurisdiction over the defendant

because she was not properly served wih the § simone and a
| I | IF; tl it]

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Currently before the court is fing deck tidal $ motion 1 dismiss the complaint dated
October 13, 2023, arguing that pursuant | to CPL AR 32 (ay) the court lacks personal jurisdiction
over the defendant or alternatively: requesting the court hold a traverse hearing to determine
whether service of process was proper. On, March 7, 2024, the parties appeared by counsel and
the court heard argument on the fully briefed motion : and) ‘reserved decision, For the reasons that
follow, the court grants the defendant's motion lo ry extent of ondering, it trave rse hearing.

| it Hl |

In support of her motion, the defendant Late a petsdnal attidavi it dd an atlidavi it ot her
mother, Shemin Wilson, rebutting that service was made in the manner dk described in the affidavit
of service, ‘The affidavit of service states that on June 8, 2028 at 3; 16 p. m. process server Benjamin
Lamb effectuated substituted service on Chante! Wilson, a a resident and i person of suitable age

and discretion at the defendants’ address at’ 3540 Decatur Avgnue, pL 1G in the Bronx, The

‘alfidayit describes the individual as female, with black shin: and hair, 25 years old, 131. 160 pounds,

and $4" to 51 6 tall, Affidavits of both defendant and he mother aver thal they were only the

| only adults | living in the apartment at that time and that they were not home an that day and time

and were instead at the hospital because the defendant pave birth tou buby girl a few days earlier

on June 6, 2023 Par was immediately admitted to the NICU and remained there until her release
on June 10, 2023, Hi i I CVA Ee eA
Pty | i i Ah | Wi

The motion papers also include an attorney aflirmation With several supporting exhibits
including all affidavits OF service sizned by Benjamin | amb for which he states he served papers

on June &, 2023, the same date stated in the affidavit of servied for this action The detendant’s

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| Wal . | Index No. CV-v. cS

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com Locos shat based on a google maps | search, which, is attac ached. it’ i" inconceivable that

| (ih i iy i} Hi Heh Hi) ! ay ed
| | By affirmation dated A 10, 2024, the Liha opposed the motion, arguing, that thes
defendant’ s conclusory denial of receipt of the summons and complai nti is insufficient to raise any)
issue of fact to rebut the affidavit of the process server, Hh The plaintiff further| states that the

statements that il was nol conceivable that the Bsr server cou

ould not haye served the defendant
and others within the time frames provided) shou Id ‘not [be considered, ee ii Sclendant) $i
counsel is not an expert, | Hil att Ht Hi i] Ht HH It) if i HA Hi i |
HoH HH) CA i Hi] Wit Hitt Hi Wilh tf i Hi Mitt
When an issue of fact is raised as fo We wi ther the plaintift validly Served the Lal
a traverse hearing should be held (see i Bank Xt sn Produce, Ine, 161, AD3d 573 [Ist
Dept 2018]; Kim vy Coleman, ‘56 AD 3d) 5 1 brat 0 Ist Dept 2008) (rraverse hearing was |
properly ordered in light of the Ce il ' provided by. plaintiff's Process server, and
defendant and his office manager, set in iy di whether service Was, properly effectuated
upon defendant”| Inv'rs Bank y Co Ine ne IN 5a Ct, Kings County, 20221 fi}. ‘light of the
conflicting affidavils as to whether. a Ae prop cea upon defendant guarantor, the
defendants’ motion pursuant to CPL, fe 321 fa tothe | dismiss the action insofar as asserted
against the defendant guarantor is pail toa Ht extent of setting this 1 matter down for: a lraverse
hearing before a special referee”). Here, given the conMlicting affidavits as to, whether service was
properly cflectuated upon the defendant, the efendant’s motion is ‘ranted, 10, the ¢ extent of setting
this matter down Jor a traverse hearing, a it Hy il i Hil i Mi HA Hi Hi Hi Will
ati i AEM } AHI Hitt i hii Hk {iy }
Accordingly. it is hereby, Ml { ! Hh I iI) HH i thi Whi Havel
i itil TALL LLT '
ORDERED that the defendant's motion is aaa hy! he Tin a traverse
hearing, to be held on June 5, 2024 at 2:15 p.m), Room 504, i) i ‘ind ‘Convourse, Bronx, NY;

and at is further, ait Hi | I} i ti A i {| bil) iF Ai thi) i Hh .
NA HANAN I if Mii HI ANA WAIL
| ORDERED, the plaintif! is directed to pedi is DTOGESS 5 server, as a Witness and the
defendant shall produce any witnesses she intends to have testi yon her behalt) all parties shall
also bring three Phi of any documentary evidence that intend 10 rely upen: at the traverse
hearing, i heli Whi Wi H Ret

| Pha ERLE! hell

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: The defendant alse vontends, ciling a federal court actin, that process server Becn jamin Lamb has a history

of lying about service. In that action, which eventually settled, Plaintiffs allege that’ Defendants a debt-buying
company, a law firm, a process service company, and affiliated ¢ngities and individuals | La in abusive dety
collection practices to ubtain default judgments against hundreds of thousands of consumers in state court Plaintiffs
alleve that Detendants did so by enzauing in sewer service” the practice al hay fraudulent affidayes attesting to
service OF ud summons apd complaint when scaice wits mot att fet made’ (Sykes y Elan, O8 CIV, 8486 (DC), 2016
WH SUSOT Saar EE SIaNY Mas 24 016} The defendant pros ides the atbidavit ofan esperd peavided to the federal
court who had reviewed 16.539 altidavats of servicg sysned by Lark, finding that in aver 80% of them Lamb claimed
ty have performed substituted service. “The plaintitl contends tat the cours should disregard the information provided
by the defendant about the process server i the federal case, becatise the defendant ways nota party to that action In
bathe of the court's Gnding that the defendant rebutted the presumption of service, the court need net address these

beeurments

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Nt a nn py 1S Order (0 all parties.
| Vit 1 Ht Wi epee | i Mi Ll
oo)" Vis constitutes the decision and order of the Court
i) LUE VE | ! H
WA Et | Wy |

Ha Dated: April 25, 2024 ?
WANA WAN Bronx, New York Hon. Lauren L. Esposito, ICC.

ENTERED
APR 26 2024
CIVIL COUR!
BRONX COUNTY
